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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                            )      Docket No. 1:21-cr-00386
                                                    )
                                                    )
              v.                                    )      ELECTRONICALLY FILED
                                                    )
                                                    )
PAULINE BAUER,                                      )       The Honorable Trevor N. McFadden
                                                    )
              Defendant.                            )


                             MOTION TO CONTINUE SENTENCING

       And now, to-wit, comes the Defendant, Pauline Bauer (hereinafter “Ms. Bauer”), by and

through her counsel, Komron Jon Maknoon, and respectfully submits the within Motion to

Continue Sentencing. In support thereof, she avers as follows:

       1.     On June 4, 2021, Ms. Bauer was indicted on alleged violations of 18 U.S.C. §§

1512(c)(2) and 2, 18 U.S.C. § 1752(a)(1), 18 U.S.C. § 1752(a)(2), 40 U.S.C. § 5104(e)(2)(D),

and 40 U.S.C. § 5104(e)(2)(G) (See ECF Doc. No. 11).

       2.     On March 16, 2022, a superseding indictment was filed with the same violations

(See ECF Doc. 116).

       3.     On May 20, 2022, undersigned counsel entered his appearance (See ECF Doc.

No. 129).

       4.     On January 19, 2023, a Bench Trial was held and Ms. Bauer was found guilty of

counts one (1) through five (5) (See ECF Doc. No. 174).

       5.     Currently scheduled and due are Sentencing Memoranda on April 24, 2023, and

Sentencing in this matter is scheduled for May 1, 2023 (See ECF Doc. No. 174).


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        6.     Undersigned counsel is still in the process of gathering medical records and letters

to supplement the sentencing memoranda.

        7.     Assistant United States Attorney James Peterson informed undersigned counsel

that he consents to the relief sought within and for sentencing to be continued for thirty (30)

days.

        WHEREFORE, Ms. Bauer respectfully requests that this Honorable Court grant the

Motion to Continue Sentencing for Thirty Days, or a date deemed more appropriate by this Court

as well as the respective dates of memoranda accordingly.



                                                      Respectfully submitted,

                                                      /s/ Komron Jon Maknoon
                                                      Komron Jon Maknoon, Esquire
                                                      PA I.D. No. 90466

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